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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

  In re:
                                                                  PROMESA
  THE FINANCIAL OVERSIGHT AND
                                                                  Title III
  MANAGEMENT BOARD FOR PUERTO RICO,
                                                                  No. 17 BK 3283-LTS
          as representative of
                                                                  (Jointly Administered)
  THE COMMONWEALTH OF PUERTO RICO, et
  al.,

                                     Debtors. 1


   NOTICE OF CORRESPONDENCE REGARDING THE THREE HUNDRED FIFTY-
  FIRST OMNIBUS OBJECTION (NON-SUBSTANTIVE) OF THE COMMONWEALTH
    OF PUERTO RICO, THE PUERTO RICO HIGHWAYS AND TRANSPORTATION
       AUTHORITY, AND THE EMPLOYEES RETIREMENT SYSTEM OF THE
         GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO
               TO PARTIAL DUPLICATE LITIGATION CLAIMS 2

  To the Honorable United States District Judge Laura Taylor Swain:

         1.      On June 18, 2021, the Commonwealth of Puerto Rico (the “Commonwealth”), the

  Puerto Rico Highways and Transportation Authority (“HTA”), and the Employees Retirement

  System of the Government of the Commonwealth of Puerto Rico (“ERS,” and together with the



  1        The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
  number and the last four (4) digits of each Debtor’s federal tax identification number, as applicable,
  are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
  3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
  Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
  Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
  Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
  Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy
  Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric
  Power Authority (“PREPA” and together with the Commonwealth, COFINA, HTA, and ERS, the
  “Debtors”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747)
  (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).
  2
           Pursuant to the Court’s Order Directing Redacted Filings [ECF No. 19781], the Debtors
  hereby re-file the above-captioned notice of correspondence, originally filed on January 5, 2022
  [ECF No. 19686], with exhibits redacted for personally identifiable information, where necessary.
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  Commonwealth and HTA, the “Debtors”), by and through the Financial Oversight and

  Management Board for Puerto Rico (the “Oversight Board”), as the sole Title III representative of

  the Debtors pursuant to section 315(b) of the Puerto Rico Oversight, Management, and Economic

  Stability Act (“PROMESA”), 3 filed the Three Hundred Fifty-First Omnibus Objection (Non-

  Substantive) of the Commonwealth of Puerto Rico, the Puerto Rico Highways and Transportation

  Authority, and the Employees Retirement System of the Government of the Commonwealth of

  Puerto Rico to Partial Duplicate Litigation Claims [ECF No. 17112] (the “Three Hundred Fifty-

  First Omnibus Objection”) to various proofs of claim.

         2.      The Three Hundred Fifty-First Omnibus Objection seeks to partially disallow

  claims (each a “Claim to Be Partially Disallowed,” and collectively, the “Claims to Be Partially

  Disallowed”) that are substantively duplicative, in part, of other master proofs of claims filed in

  the Title III Cases. As set forth in the Three Hundred Fifty-First Omnibus Objection and

  supporting exhibits thereto, the Claims to Be Partially Disallowed assert, in part, the same

  liabilities as those asserted in one of the following: (1) the master claims filed on behalf of all

  plaintiffs in the litigation captioned Jeannette Abrams Diaz et al. v. Department of Transportation

  & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”); (2) the master claims

  filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto

  Rico Police Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”); (3) the master

  claim filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Puerto

  Rico Department of Treasury, No. KAC2005-5022 (the “Acevedo Arocho Master Claim”); (4) the

  master claim filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho

  et al. v. Puerto Rico Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho



  3 PROMESA is codified at 48 U.S.C. §§ 2101-2241.



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  Master Claim”); (5) the master claim filed on behalf of all plaintiffs in the litigation captioned

  Francisco Beltrán Cintrón et al. v. Puerto Rico Department of Family Affairs, No. KAC2009-

  0809 (the “Beltrán Cintrón Master Claim”); (6) the master claim filed on behalf of all plaintiffs in

  the litigation captioned Abraham Giménez et al. v. Puerto Rico Department of Transportation &

  Public Works, No. KAC2013-1019 (the “Abraham Giménez Master Claim”); (7) the master claim

  filed on behalf of all plaintiffs in the litigation captioned Juan Pérez Colón et al. v. Puerto Rico

  Department of Transportation & Public Works, No. KAC1990-0487 (the “Pérez Colón Master

  Claim”); (8) the master claim filed on behalf of all plaintiffs in the litigation captioned Frente

  Unido de Policías Organizados et al. v. Puerto Rico Police Department, No. KAC2007-4170 (the

  “FUPO Master Claim”); (9) the master claim filed on behalf of all plaintiffs in the litigation

  captioned Alfredo Maldonado Colón et al. v. Puerto Rico Department of Corrections &

  Rehabilitation, No. KAC96-1381 (the “Maldonado Colón Master Claim”); and (10) the master

  claim filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Vélez v. Puerto Rico

  Department of Education, KPE1980-1738, who have agreed to be represented by José E. Torres

  Valentín (“Torres Valentín”) of Torres Valentín Estudio Legal, LLC (the “Vélez Master Claim”,

  and collectively, the “Litigation Master Claims”). The Claims to Be Partially Disallowed are,

  accordingly, partially duplicative of one or more Litigation Master Claims.

         3.       The Debtors have received correspondence from:

              •   Lydia R. Colón Mulero (“Colón Mulero”), a copy of which is attached hereto as
                  Exhibit “A” (the “Colón Mulero Response”), regarding Proof of Claim No. 168021
                  (the “Colón Mulero Claim”);

              •   Ebed Miro Ramírez (“Miro Ramírez”), a copy of which is attached hereto as
                  Exhibit “B” (the “Miro Ramírez Response”), regarding Proof of Claim No. 171318
                  (the “Miro Ramírez Claim”);

              •   Ana L. Luna Rios (“Luna Rios”), a copy of which is attached hereto as Exhibit “C”
                  (the “Luna Rios Response”), regarding Proof of Claim No. 174092 (the “Luna Rios
                  Claim”); and

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              •   Felix Rivera Clemente (“Rivera Clemente”), a copy of which is attached hereto as
                  Exhibit “D” (the “Felix Clemente Response,” and together with the Colón Mulero
                  Response, the Miro Ramírez Response, and the Luna Rios Response, the
                  “Responses”), regarding Proof of Claim No. 6725 (the “Rivera Clemente Claim,”
                  and together with the Colón Mulero Claim, the Miro Ramírez Claim, and Luna Rios
                  Claim, the “Claims”).

  Certified copies of the Colón Mulero Response, the Miro Ramírez Response, the Luna Rios

  Response, and the Rivera Clemente Response are attached hereto as Exhibits “A-1,” “B-1,” “C-

  1,” and “D-1,” respectively.

         I.       The Colón Mulero Response

         4.       The Colón Mulero Claim purports to assert liabilities in the amount of $50,000

  arising out of the Acevedo Camacho Litigation, a litigation against the Puerto Rico Department of

  Family Affairs. The Acevedo Camacho Master Claims identify Colón Mulero as one of the

  plaintiffs in the Acevedo Camacho Litigation. 4

         5.       The Colón Mulero Response consists of a copy of a notice accompanying the Three

  Hundred Fifty-First Omnibus Objection, as well as a copy of the Colón Mulero Claim.       It does

  not address the Debtors’ contention that the Colón Mulero Claim is duplicative, in part, of the

  Acevedo Camacho Master Claims. See generally Colón Mulero Response. The Colón Mulero

  Response, therefore, does not dispute that the liabilities asserted in the Colón Mulero Claim are

  partially duplicative of the liabilities asserted by the Acevedo Camacho Master Claims.

  Accordingly, the Colón Mulero Claim should be partially disallowed because it is duplicative, in

  part, of the Acevedo Camacho Master Claims. Failure to partially disallow the Colón Mulero

  Claim could result in an unwarranted double recovery to the detriment of other stakeholders in

  these Title III Cases. Colón Mulero will not be prejudiced by the partial disallowance of the



  4     Capitalized terms not defined herein shall the meaning ascribed to them in the Three
  Hundred Fifty-First Omnibus Objection.

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  Colón Mulero Claim, because the liabilities asserted by the Colón Mulero Claim are preserved by

  the Acevedo Camacho Master Claims.

           II.       The Miro Ramírez Response

           6.        The Miro Ramírez Claim purports to assert liabilities in the amount of $17,632

  purportedly arising out of the Maldonado Colón Litigation.    The Maldonado Colón Master Claim

  identifies Miro Ramírez as a plaintiff in the Maldonado Colón Litigation.

           7.        The Miro Ramírez Response, which consists of a copy of a completed information

  request form, does not address the Debtors’ contention that the Miro Ramírez Claim is duplicative

  of the Maldonado Colón Master Claim.       Rather, the Miro Ramírez Response states that it asserts,

  in part, liabilities associated with a pending litigation with Case No. KAC-1996-1381, one of the

  case numbers associated with the Maldonado Colón Litigation.      Miro Ramírez Response at 2. The

  Miro Ramírez Response, therefore, does not dispute that the liabilities asserted in the Miro

  Ramírez Claim are partially duplicative of the liabilities asserted by the Maldonado Colón Master

  Claim.        Accordingly, the Miro Ramírez Claim should be partially disallowed because it is

  duplicative, in part, of the Maldonado Colón Master Claim. Failure to partially disallow the Miro

  Ramírez Claim could result in an unwarranted double recovery to the detriment of other

  stakeholders in these Title III Cases.      Miro Ramírez will not be prejudiced by the partial

  disallowance of the Miro Ramírez Claim, because the liabilities asserted by the Miro Ramírez

  Claim are preserved by the Maldonado Colón Master Claim.

           III.      The Rivera Clemente Response

           8.        The Rivera Clemente Claim asserts approximately $60,000,000 in liabilit ies

  associated, in part, with various litigations against the Commonwealth.     The Pérez Colón Master

  Claims identify Rivera Clemente as a plaintiff in the Pérez Colón Litigation.



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          9.     The Rivera Clemente Response, a Spanish-language letter, does not address the

  Debtors’ contention that the Rivera Clemente Claim is duplicative, in part, of the Pérez Colón

  Master Claims.     Instead, the Rivera Clemente Response describes several acts of alleged

  discrimination against Rivera Clemente by his supervisors at the Department of Transportation

  and Public Works (“DTOP,” by its Spanish acronym). Rivera Clemente Response at 1. It also

  attaches as supporting documentation various correspondence between Rivera Clemente and

  DTOP, as well as court filings made in various litigations in which Rivera Clemente is a plaintiff.

  The Rivera Clemente Response, therefore, does not dispute that the liabilities asserted in the Rivera

  Clemente Claim are partially duplicative of the liabilities asserted by the Pérez Colón Master

  Claims. Accordingly, the Rivera Clemente Claim should be partially disallowed because it is

  duplicative of the Pérez Colón Master Claims. Failure to partially disallow the Rivera Clemente

  Claim could result in an unwarranted double recovery to the detriment of other stakeholders in

  these Title III Cases. Rivera Clemente will not be prejudiced by the partial disallowance of the

  Rivera Clemente Claim, because the liabilities asserted by the Rivera Clemente Claim are

  preserved by the Pérez Colón Master Claims.

          IV.    The Luna Rios Response

          10.    The Luna Rios Claim asserts liabilities in an unspecified amount purportedly

  arising out of the Beltrán Cintrón Litigation against the Puerto Rico Department of Family Affairs.

  The Beltrán Cintrón Master Claims identify Luna Rios as a plaintiff in the Beltrán Cintrón

  Litigation.

          11.    The Luna Rios Response does not address the Debtors’ assertion that the Luna Rios

  Claim is duplicative, in part, of the Beltrán Cintrón Master Claims.   Instead, it consists of a copy

  of a notice accompanying the Three Hundred Fifty-First Omnibus Objection, together with a



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  handwritten letter stating Luna Rios is “not in agreement with the determination of Commonwealth

  of Puerto Rico, I request [] appeal the decision . . . [and a description] in writing as to why this

  determination was made that I am not eligible.”        Luna Rios Response at 3. The Luna Rios

  Response, therefore, does not dispute that the liabilities asserted in the Luna Rios Claim are

  partially duplicative of the liabilities asserted by the Beltrán Cintrón Master Claims. Accordingly,

  the Luna Rios Claim should be partially disallowed because it is duplicative of the Beltrán Cintrón

  Master Claims.     Failure to partially disallow the Luna Rios Claim could result in an unwarranted

  double recovery to the detriment of other stakeholders in these Title III Cases. Luna Rios will not

  be prejudiced by the partial disallowance of the Luna Rios Claim, because the liabilities asserted

  by the Luna Rios Claim are preserved by the Beltrán Cintrón Master Claims.

         12.       For the foregoing reasons, the Debtors respectfully request that the Court grant the

  Three Hundred Fifty-First Omnibus Objection and partially disallow the Claims, notwithstanding

  the Responses.



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  Dated: January 5, 2022                    Respectfully submitted,
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                                            System of the Government of the
                                            Commonwealth of Puerto Rico




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